
In re: State of Louisiana applying for writ of certiorari.
It is ordered that a writ of certiorari issue herein, directing the Honorable Fred A. Blanche, Jr., Judge of the Nineteenth Judicial District Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 11th day of October, 1963, the record, in duplicate or a certified copy of the record, in duplicate of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through his attorney shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
